     Case 1:21-cv-02930-RCL          Document 109-4        Filed 03/11/25   Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 OLIVIA PARROTT, et al.,

        Plaintiffs,

        v.
                                                     Civil Action No. 1:21-cv-002930-RCL
 DISTRICT OF COLUMBIA,

        Defendant.


                                            ORDER

       Upon consideration of Plaintiffs’ Motion for Reconsideration of the Opinion and Order on

Defendant’s Motion to Dismiss or, in the Alternative, Leave to Amend the First Amended

Complaint (Motion), Defendant’s Opposition, and the entire record, it is,

       ORDERED that the Motion is DENIED.



Dated: _______________________               _____________________________________
                                             THE HONORABLE ROYCE C. LAMBERTH
                                             Judge, United States District Court
                                                    for the District of Columbia
